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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,                                Case No.: 1:20-cv-04202

        Plaintiffs,                                           Judge Thomas M. Durkin

v.                                                            Magistrate Judge Sheila M. Finnegan

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                           PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on Plaintiffs, WHAM-O HOLDING, LTD. and

INTERSPORT CORP. d/b/a WHAM-O (“WHAM-O” or “Plaintiffs”), Motion for a Preliminary

Injunction, and this Court having heard the evidence before it hereby GRANTS Plaintiffs’ Motion

for Entry of a Preliminary Injunction in its entirety against the defendants identified in Schedule

A (collectively, the “Defendants”).

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

the Defendants directly target their business activities toward consumers in the United States,

including Illinois. “In the context of cases like this one, that means a plaintiff must show that each

defendant is actually operating an interactive website that is accessible in Illinois and that each

defendant has aimed such site at Illinois by standing ready, willing and able to ship its counterfeit

goods to customers in Illinois in particular (or otherwise has some sufficient voluntary contacts

with the state).” Am. Bridal & Prom Indus. Ass’n v. P’ships & Unincorporated Ass’ns Identified

on Schedule A, 192 F.Supp.3d 924, 934 (N.D. Ill. 2016). In this case, Plaintiffs have presented

screenshot evidence that each Defendant Internet Store is reaching out to do business with Illinois



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residents by operating one or more commercial, interactive Internet Stores through which Illinois

residents can and do purchase products using counterfeit versions of Plaintiffs’ trademarks. See

Docket No. 11 which includes screenshot evidence confirming that each Defendant Internet Store

does stand ready, willing and able to ship its counterfeit goods to customers in Illinois bearing

infringing and/or counterfeit versions of the FRISBEE trademarks, U.S. Trademark Registration

Nos. 4,046,202; 970,089 and 679,186 (“The FRISBEE trademarks”).

       THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65. Evidence submitted in support of this Motion and in support of WHAM-O’s

previously granted Motion for a Temporary Restraining Order establishes that WHAM-O has a

likelihood of success on the merits; that no remedy at law exists; and that WHAM-O will suffer

irreparable harm if the injunction is not granted.

       Specifically, WHAM-O has proved a prima facie case of trademark infringement because

(1) the FRISBEE trademarks are distinctive marks and are registered with the U.S. Patent and

Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to use

the FRISBEE trademarks, and (3) Defendants’ use of the FRISBEE trademarks is causing a

likelihood of confusion as to the origin or sponsorship of Defendants’ products with WHAM-O.

Furthermore, Defendants’ continued and unauthorized use of the FRISBEE trademarks

irreparably harms WHAM-O through diminished goodwill and brand confidence, damage to

WHAM-O’s reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to

address such damage and, therefore, WHAM-O has an inadequate remedy at law. Moreover, the




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public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants’ actions. Accordingly, this Court orders that:

1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under or in active concert with them be

        temporarily enjoined and restrained from:

         a. using the FRISBEE trademarks or any reproductions, counterfeit copies or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a

             genuine FRISBEE product or not authorized by WHAM-O to be sold in

             connection with the FRISBEE trademarks;

        b.   passing off, inducing, or enabling others to sell or pass off any product as a

             genuine FRISBEE product or any other product produced by WHAM-O, that

             is not WHAM-O’s or not produced under the authorization, control or

             supervision of WHAM-O and approved by WHAM-O for sale under the

             FRISBEE trademarks;

        c.   committing any acts calculated to cause consumers to believe that Defendants'

             products are those sold under the authorization, control or supervision of

             WHAM-O, or are sponsored by, approved by, or otherwise connected with

             FRISBEE;

        d.   further infringing the FRISBEE trademarks and damaging WHAM-O’s

             goodwill;

        e.   otherwise competing unfairly with WHAM-O in any manner;




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        f.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

             distributing, returning, or otherwise disposing of, in any manner, products or

             inventory not manufactured by or for WHAM-O, nor authorized by WHAM-O

             to be sold or offered for sale, and which bear any of the FRISBEE trademarks

             or any reproductions, counterfeit copies or colorable imitations thereof;

        g.   using, linking to, transferring, selling, exercising control over, or otherwise

             owning the Online Marketplace Accounts, or any other online marketplace

             account that is being used to sell or is the means by which Defendants could

             continue to sell Counterfeit/Infringing FRISBEE products; and

        h.   operating and/or hosting at the Online Marketplace Accounts and any other

             online marketplace accounts registered or operated by Defendants that are

             involved with the distribution, marketing, advertising, offering for sale, or sale

             of any product bearing the FRISBEE trademarks or any reproductions,

             counterfeit copies or colorable imitations thereof that is not a genuine

             FRISBEE product or not authorized by WHAM-O to be sold in connection

             with the FRISBEE trademarks.

2.      Those in privity with Defendants and with actual notice of this Order, including any online

        marketplaces such as, but not limited to PayPal, WISH and Alipay, (collectively,

        "Marketplaces"), social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet

        search engines such as Google, Bing and Yahoo, shall within three (3) business days of

        receipt of this Order:

             a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using the


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                FRISBEE trademarks, including any accounts associated with the

                Defendants listed in Schedule A;

            b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods

                using the FRISBEE trademarks; and

            c. take all steps necessary to prevent links to the Defendant Online

                Marketplace Accounts identified in Schedule A from displaying in search

                results, including, but not limited to, removing links to the Online

                Marketplace Accounts from any search index.

3.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of Defendants' Online Marketplace

        Accounts or other websites operated by Defendants, including, without limitation, any

        online marketplace platforms such as Marketplaces, advertisers, Facebook, Internet

        Service Providers ("ISP"), web hosts, back-end service providers, web designers,

        sponsored search engine or ad-word providers, banks, merchant account providers,

        including, but not limited to, PayPal, Alipay, Western Union, third party processors and

        other payment processing service providers, shippers, and online marketplace registrars

        (collectively, the "Third Party Providers") shall, within three (3) business days after receipt

        of such notice, provide to WHAM-O expedited discovery, including copies of all

        documents and records in such person's or entity's possession or control relating to:

            a. The identities and locations of Defendants, their agents, servants,

               employees, confederates, attorneys, and any persons acting in concert or

               participation with them, including all known contact information;


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            b. the nature of Defendants' operations and all associated sales and financial

               information,   including, without     limitation, identifying information

               associated with the Online Marketplace Accounts, and Defendants' financial

               accounts, as well as providing a full accounting of Defendants' sales and

               listing history related to their respective Online Marketplace Accounts;

            c. Defendants' websites and/or any Online Marketplace Accounts;

            d. The Defendant Online Marketplace Accounts registered by Defendants; and

            e. Any financial accounts owned or controlled by Defendants, including their

               agents, servants, employees, confederates, attorneys, and any persons acting

               in concert or participation with them, including such accounts residing with

               or under the control of any banks, savings and loan associations, payment

               processors or other financial institutions, including, without limitation,

               Amazon, PayPal, Alipay, Western Union, or other merchant account

               providers, payment providers, third party processors, and credit card

               associations (e.g., MasterCard and VISA).

4.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be temporarily restrained and enjoined from transferring or

        disposing of any money or other of Defendants' assets until further ordered by this Court.

5.      PayPal, Inc. (“PayPal”), Context Logic, Inc.(“WISH”) and Alipay US, Inc. and its

        entities (“Alipay”), shall, within three (3) business days of receipt of this Order, for

        any Defendant or any of Defendants' Online Marketplace Accounts or websites:

         a. Locate all accounts and funds connected to Defendants, Defendants' Online

            Marketplace Accounts or Defendants' websites, including, but not limited to, any


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            PayPal, WISH and Alipay accounts connected to the information listed in

            Schedule A hereto or the email addresses identified in Exhibit 2 to the

            Declaration of Todd Richards; and

          b. Restrain and enjoin any such accounts or funds that are non-U.S. foreign based

            from transferring or disposing of any money or other of Defendants' assets until

            further ordered by this Court.

6.      Any banks, savings and loan associations, payment processors, or other financial

        institutions, for any Defendant or any of Defendants' Online Marketplace Accounts or

        websites, shall within three (3) business days of receipt of this Order:

            a. Locate all accounts and funds connected to Defendants, or Defendants'

            Online Marketplace Accounts, including, but not limited to, any accounts

            connected to the information listed in Schedule A hereto or the email addresses

            identified in Exhibit 2 to the Declaration of Todd Richards; and

          b. Restrain and enjoin such accounts from receiving, transferring or disposing of

            any money or other of Defendants' assets until further ordered by this Court.

7.     WHAM-O may provide notice of these proceedings to Defendants, including notice of the

        preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

        electronically publishing a link to the Complaint, this Order and other relevant documents

        on a website, or by sending an e-mail to the e-mail addresses identified in Exhibit 2 to the

        Declaration of Todd Richards and any e-mail addresses provided for Defendants by third

        parties that includes a link to said website. The Clerk of Court is directed to issue a single

        original summons in the name of “atmjp and all other Defendants identified in Complaint”

        that shall apply to all Defendants. The combination of providing notice via electronic


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        publication and e-mail, along with any notice that Defendants receive from Online

        Marketplace Accounts and payment processors, shall constitute notice reasonably

        calculated under all circumstances to apprise Defendants of the pendency of the action and

        afford them the opportunity to present their objections.

8.      Any Defendants that are subject to this Order may appear and move to dissolve or modify

        the Order on two days' notice to WHAM-O or on shorter notice as set by this Court.

9.      The $10,000 bond posted by WHAM-O shall remain with the Court until a Final disposition

        of this case or until this Preliminary Injunction is terminated.


Dated: August 18, 2020




                                        ______________________________
                                        U.S. District Court Judge




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                                SCHEDULE A

         No.                        Defendants
          1    atmjp
          2    manusshop
          3    Loves Boutique
          4    tim_q
          5    Wuhan Tianpin Business Trading Company
          6    fanlei11
          7    Linjou ling nine
          8    liulei135
          9    lizhichao11
         10    wenxiaozhi
         11    Double boutique
         12    One Song Away
         13    littlevolcano01
         14    Sclrecroely
         15    PTstore18s
         16    Southumbrella06
         17    Look forward to823
         18    xylophone
         19    varition
         20    xiaoHgaoduandingzhi
         21    qianqianwomen
         22    Super Gloal Trade Co,Ltd
         23    Jiaowanzi Store
         24    now here shop
         25    rxc989656
         26    Xiao Hao 1999
         27    yguoxiangxiang
         28    jingwanlin
         29    qiaofuding123456
         30    tongyuqing
         31    wangzhishuang
         32    lianghuan520q
         33    tanlijuan
         34    exoterica
         35    Prettycottage
         36    Eddie Store
         37    Shop5006319 Store
         38    love life Store


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          39   WarmCurrent Store
          40   365-Days Booming Store
          41   A Cozy Store
          42   Best Tools Online Dropshipping Store
          43   E-Tool&Life Store
          44   Happiness House Store
          45   Lighting & Tools & House Improvement Store
          46   Lovely home, Sweet life
          47   Sturdy Tool&Lighting Store
          48   Beautiful LovePet Store
          49   Celebrate For The World Store
          50   Our Globel shipping Groceries Store
          51   Overseas Dropshipping Factory Store
          52   Shop5485202 Store
          53   ALL you loving Store
          54   Cutepet Store
          55   Fantasy Garden & Life House Store
          56   HOUSE SHOP Store
          57   Practical Kitchen Store
          58   Shopping in your Store
          59   Tooyoo Daily Commodity Store
          60   Yunjin Meijia Store
          61   PETruler Official Store
          62   YOHOPET Official Store
          63   Shop5235004 Store
          64   Shop5235015 Store
          65   Shop5235025 Store
          66   Shop5235042 Store
          67   agselling
          68   Changzhou Daya Import & Export Corp., Ltd.
          69   Changzhou Eagle Technology Co., Ltd.
          70   DONGGUAN AASIN TECHNOLOGY CO., LTD.
          71   Dongguan Nike Industrial Limited
          72   e-bestshare88
          73   Fuzhou Smart Artifact Co., Limited
          74   Hangzhou Hongke Sports Equipment Co., Ltd.
          75   Nanjing Allshing Trade Company Limited
          76   Ningbo Fenghua Yixin Art & Craft Co., Ltd.
          77   Ningbo Ishow Import & Export Co., Ltd.
          78   Ningbo Smart Market Sourcing Ltd.
          79   Ningbo Vicball Sporting Goods Co., Ltd.


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          80   pwstore
          81   readygo
          82   Shanghai Aimi Pet Products Co., Ltd.
          83   Shanghai Shengchou Plastic Ltd.
          84   Shenzhen Fuly Technology Co., Ltd.
          85   somanoon
          86   Taizhou Shanyue Packaging Container Co., Ltd.
          87   Tangshan Qiming Trade Co., Ltd.
          88   Wenzhou Mega Trading Co., Ltd.
          89   Yiwu Anjiu Import & Export Co., Ltd.
          90   Zhumadian Soule Commerce And Trade Co., Ltd.
          91   aa_sports
          92   Ali-innovation
          93   AMYJANE JEWELRY COLLECTION
          94   anyqiqiq1
          95   Beaut-Pavilion
          96   Buy directly from China
          97   Cheerfssver95
          98   Cherry Fashions
          99   Diaotaboo
         100   DIYcase Inc.
         101   Duction
         102   eeesule666
         103   haidugogo
         104   hanyuxuan Store
         105   Hintana
         106   homeyl
         107   HongHome
         108   hoosdu
         109   jamesclothes Inc
         110   JANCJ
         111   Jinhengyang
         112   Kaliou
         113   kawayi lin
         114   LCC STORE
         115   lifecake64
         116   lixiao
         117   Love Travel
         118   LuoXue Ltd.company
         119   MAKOSHOP
         120   maybeadv


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         121   mengfang123
         122   nichetopia
         123   NING TOY
         124   OUCHEN
         125   pgdz
         126   Pinpy Lifestyle International
         127   qwfy
         128   Ren Huang
         129   SeeYouAgain1
         130   shenzhenshizhenchengshangpindianzikejiyouxiangongsi
         131   suling international
         132   Surprize
         133   tangxiaohua
         134   taotaodexionsak
         135   tengfei168
         136   TIXIANG
         137   Ty
         138   Vikaka
         139   wanpinyou
         140   Xqqqqqqqq
         141   yanz
         142   yaoping
         143   yiwuchangshuoshangmaoyouxiangongsi
         144   yuanyumeifadale
         145   zouzhaocheng
         146   All Pecfect Store
         147   AShine life Store
         148   Chinatown Department Store
         149   Co-co'sPet Store
         150   Da Da Store
         151   Daily life is Goods Store
         152   Daily Use Everyday Store
         153   DogCat Store
         154   Dogs/Cats/Birds Product Store
         155   Dongguan City Geedyn Technology Co., Ltd.
         156   Dreamer-Lifestyle Store
         157   ETSREWO Store
         158   FML PET Official Store
         159   Hangzhou Fuyang MarBo Rackets Co., Ltd.
         160   HappysKids Store
         161   hereformeeting Store


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         162   HM SFTT Store
         163   HomeSweet Store
         164   House Lover Store
         165   huayan's accessories store
         166   jarvanIV Store
         167   JINKJING Store
         168   kingccpet264278 Store
         169   LANSI Decoration Store
         170   LanYing Pets Store
         171   Little Mouse House Store
         172   Merry Hommylife Store
         173   MGKPET Global Store
         174   Miogar Store
         175   Niaroko's Store
         176   OCHINE Franchised Store
         177   Pething Mall
         178   Petsbeds Store
         179   Puyang pag trading Co.,LTD
         180   QWJ's kitty Store
         181   Reed Daily Gadgets Store
         182   Shanghai Yizo Industrial Limited
         183   Shanghai Your Industry Co., Ltd.
         184   Shantou Toptrue Toys Trading Firm
         185   Shenzhen Yijiamei Silicone & Rubber Co., Limited
         186   Shenzhen Z&L Crafts Products Co., Ltd.
         187   Shijiazhuang Roc Cattle Import and Export Trading Co., Ltd.
         188   Ship within 24h Drop shipping Store
         189   Shop1768047 Store
         190   Shop1938613 Store
         191   Shop4514074 Store
         192   Shop5126080 Store
         193   Shop5134046 Store
         194   Shop5235006 Store
         195   Shop5235011 Store
         196   Shop5235013 Store
         197   Shop5235019 Store
         198   Shop5235020 Store
         199   Shop5235022 Store
         200   Shop5235034 Store
         201   Shop5235037 Store
         202   Shop5235046 Store


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         203   Shop5235053 Store
         204   Shop5397033 Store
         205   superCassiopeia Store
         206   SuperGalio Store
         207   Suqian Lianshun Stationery Co., Ltd.
         208   TLHOTTOP Store
         209   UtopiaHome Store
         210   Vieruodis Boutiques Store
         211   WaKaWaka House Store
         212   Weifang Xinshijie Crafts Co., Ltd.
         213   Welcome to my Store
         214   Wonder4 Life Store
         215   Yiwu Shanrun Trading Co., Ltd.
         216   OutdoorXL




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